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SO ORDERED.

SIGNED this 24th day of May, 2019.




                               IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                       WINSTON-SALEM DIVISION
   IN RE:

       CAROL LYNN DOSE'                                                             19-50249
                                                                                   CHAPTER 7




                                        ORDER GRANTING RELIEF FROM
                                             AUTOMATIC STAY

             THIS MATTER coming before the United States Bankruptcy Judge for the Middle District of
   North Carolina on May 15, 2019 for hearing upon the motion of Nationstar Mortgage LLC d/b/a Mr. Cooper
   for relief from the automatic stay regarding the Debtor's real property located at 354 Brier Creek Rd,
   Advance, NC 27006. There were no appearances at the hearing.

          AND IT APPEARING to the Court that the Trustee filed a Response in Opposition to the Nationstar
   Mortgage LLC d/b/a Mr. Cooper’s Motion for Relief;

            AND IT FURTHER APPEARING to the Court that the Trustee withdrew his Response prior to hearing;

            AND IT FURTHER APPEARING that for good cause shown relief from the automatic stay should be
   granted to Nationstar Mortgage LLC d/b/a Mr. Cooper, or any successor-in-interest, with respect to the Debtor's real
   property located at 354 Brier Creek Rd, Advance, NC 27006;

            WHEREFORE, IT IS HEREBY ORDERED that Nationstar Mortgage LLC d/b/a Mr. Cooper, or any
   successor-in-interest, shall be granted relief from the automatic stay and may proceed with foreclosure of the
   Debtor's real property located at 354 Brier Creek Rd, Advance, NC 27006.

            IT IS FURTHER ORDERED that if a sale of the real property is held and excess proceeds are derived,
   then such proceeds shall be deposited with the Chapter 7 Trustee.



                                                    End of Document
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                   IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                           WINSTON-SALEM DIVISION
IN RE:

   CAROL LYNN DOSE'                                               19-50249
                                                                 CHAPTER 7




                             PARTIES TO BE SERVED


                                 Carol Lynn Dose'
                                 354 Briercreek Rd
                                Advance, NC 27006

                                 D. Barrett Burge
                              514 South Stratford Rd
                                    Suite 333
                             Winston Salem, NC 27103

                                  Daniel C. Bruton
                               Bell, Davis & Pitt, P.A.
                                 600 Century Plaza
                       100 North Cherry Street, P.O. Box 21029
                           Winston-Salem, NC 27120-1029

                                  William P. Miller
                              Bankruptcy Administrator
                             101 South Edgeworth Street
                               Greensboro, NC 27401

                             Andrew Lawrence Vining
                         10130 Perimeter Parkway, Ste. 400
                               Charlotte, NC 28216
